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                                 UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA

                                                      Case No. 20-cv-3664-YGR (SVK)
  CHASOM BROWN, et al.,                                        20-cv-5146-YGR (SVK)
                   Plaintiffs,
                                                      ORDER FOLLOWING FEBRUARY 14,
            v.                                        2023 HEARING RE PRESERVATION
                                                      OF MAPPING AND LINKING
  GOOGLE LLC,                                         TABLES
                   Defendant.

  PATRICK CALHOUN, et al.,
                   Plaintiffs,

            v.

  GOOGLE LLC,
                   Defendant.

       The Court’s January 17, 2023 orders required the Parties in both the Brown and Calhoun

cases to engage in further meet and confer regarding Google’s request to be relieved of any

obligation to preserve certain tables. Brown Dkt. 830; Calhoun Dkt. 960. Following receipt of

the Parties’ joint status reports (Brown Dkt. 849; Calhoun Dkt. 974) and additional information

requested by the Court (Brown Dkt. 851; Calhoun Dkt. 975) the Court held a sealed hearing by
Zoom on February 14, 2023. For the reasons discussed at the hearing, the Court ORDERS as

follows:

            1. Counsel for the Calhoun Plaintiffs are to promptly provide counsel for the Brown

                 Plaintiffs with a copy of the February 6, 2023 letter discussed at the hearing (the

                 “February 6 Letter”).

            2. Google is to respond to the February 6 Letter by February 17, 2023, with copies

                 to counsel for the Brown and Calhoun Plaintiffs.

            3. If any of the issues raised in the February 6 Letter remain unresolved, by
                 February 24, 2023 the Parties must file the following with the Court:
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                   a. Copies of the February 6 Letter and Google’s response.

                   b. A document, not to exceed 5 double-spaced pages, from each Party (the

                       Brown Plaintiffs, the Calhoun Plaintiffs, and Google) containing their

                       respective positions on issues raised in the February 6 Letter.

       The Parties may agree to a modest extension of this schedule if necessary. The Court

will decide the remaining issues on the papers or set a further hearing if necessary.

       SO ORDERED.

Dated: February 14, 2023




                                                             SUSAN VAN KEULEN
                                                             United States Magistrate Judge
